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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE NORTHERN DISTRICT OF TEXAS
                                        DALLAS DIVISION

                                           )
In re                                      ) Chapter 15
                                           )
MtGox Co., Ltd. (a/k/a MtGox KK)           ) Case No. 14-31229-sgj15
                                           )
           Debtor in a Foreign Proceeding. )
                                           )

ORDER GRANTING EMERGENCY MOTION TO APPROVE NOTICE PROCEDURES

            Upon the Petitioner’s Emergency Motion to Approve Notice Procedures [Dkt. No. ___]

(the “Motion”), seeking approval of the manner of service of the Recognition Hearing Notice 1

pursuant to sections 105(a) and 1514 of title 11 of the United States Code (the “Bankruptcy

Code”), and Rules 2002, 9006, 9007 and 9008 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”); and upon hearing on the Motion; and the Court having determined that the

relief requested in the Motion is in the best interests of the Debtor, its estate, its creditors, and

other parties in interest; and it appearing that proper and adequate notice of the Motion has been


1
    Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Motion.



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given and that no other or further notice is necessary; and upon the record herein; and after due

deliberation thereon; and good and sufficient cause appearing therefor, it is hereby

       ORDERED, ADJUDGED AND DECREED that:

       1.      The Motion is GRANTED.

       2.      The Petitioner shall serve the Recognition Hearing Notice upon the Notice Parties

that are known to the Petitioner as of the date hereof on or before April 13, 2014 via United

States First Class Mail and/or electronic mail (at their last known mailing or email address, if for

whom the Petitioner has such addresses). In addition, the Petitioner shall notice each of the

Debtor’s customers via electronic mail.

       3.      The form of abbreviated version of the Recognition Hearing Notice attached to the

Motion as Exhibit B (the “Publication Notice”) is hereby approved.

       4.      The Petitioner shall cause the Publication Notice to be published in the Debtors’

website, https://www.mtgox.com/ and in http://www.reddit.com/.

       5.      If any party files a notice of appearance in this case, Petitioner shall serve the

Recognition Hearing Notice upon such party by the later of (a) twenty-three (23) days prior to

the Recognition Hearing; or (b) three (3) business days following the filing of such notice of

appearance, unless such party or its counsel has otherwise already been served with the

Recognition Hearing Notice.

       6.      Service pursuant to this Order shall be good and sufficient service and adequate

notice of the Recognition Hearing.


                                  # # # END OF ORDER # # #




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Prepared and submitted by:

BAKER & McKENZIE LLP

/s/ David W. Parham
David W. Parham
State Bar No. 15459500
John Mitchell
State Bar No. 24056313
Rosa A. Shirley
State Bar No. 24056313
2300 Trammell Crow Center
2001 Ross Avenue
Dallas, Texas 75201
Telephone: (214) 978-3000
Facsimile: (214) 978-3099
Email: david.parham@bakermckenzie.com
Email: john.mitchell@bakermckenzie.com
Email: rosa.shirley@bakermckenzie.com

- and -

Erin E. Broderick (admitted pro hac vice)
Illinois Bar No. 6295974
300 East Randolph Drive, Suite 5000
Chicago, Illinois 60602
Telephone: (312) 861-8000
Facsimile: (312) 861-2899
Email: erin.broderick@bakermckenzie.com

Attorneys for the Petitioner Robert Marie Mark Karpeles,
Foreign Representative of MtGox Co., Ltd., a/k/a MtGox KK




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